Case 2:04-cr-20273-.]PI\/| Document 49 Filed 04/25/05 Page 1 of 2 Page|D 72

 

FE¢
IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEs'rERN DISTRICT oF TENNESSEE _…r}'
wEs'rERN DIVISION 05 ,¢1'.;‘1\ ?.'
ROBE'HF s L')i

 

CLERK.LLS.D€;L
UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20273-Ml

-._/-.._,~_,-.._/-_»-_/-_»

BRADFORD GENE WILLIAMS

-._l

Defendant. )

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on April 21, 2005, the United States
Attorney for this districtr David Henry, appearing for the Government and
the defendant, Bradford Gene Williams, appearing in person and with counsel,
Tim Franchavilla for Robert Brannon, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, JULY 14, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the £ day of April, 2005.

QW§(\M

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

\

The docunwentestsred onthe docketsheetln conprancq

with F!ufe 55 ana/cr 32(|0) FRCrP on 4'¢>2§ 05 %V

W.D. OF `!"1\|, l'JlL;`;v.PHIS

     
 

  

UNITED sTATE DISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20273 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Robert M. Brannon

LAW OFFICE OF ROBERT M. BRANNON
295 Washington Avenue

Ste. 3

l\/lemphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

